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                                 UNITED STA TES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

      JOHN DOE I, et al.,

            Plaintiffs,

      v.                                                        Case No. 1:0l-cv-1357-RCL

      EXXON MOBIL CORPORATION, et al.,

              Defendants.


                                      MEMORANDUM OPINION

             Following its resolution of cross-motions for sanctions stemming from a deposition, the

     Court ordered defense counsel-specifically the firm of Paul, Weiss, Rifkind, Wharton & Garrison

     LLP and attorney Alex Young K. Oh-to show cause why they should not be sanctioned for

     impugning opposing counsel's character without evidentiary support. Order (May 6, 2021 ), ECF

     No. 799; Doe v. ExxonMobil Corp., No. 1:01-cv-1357-RCL, 2021 WL 1840649, at *15-16

     (D.D.C. May 7, 2021) ("Sancti•ons Op.") .

             Upon review of the responses to the show cause order and all other relevant papers of

     record, the Court will find that Paul Weiss and Ms. Oh violated Rule 1 l(b)(3) and admonish them

     for that violation.

I.         BACKGROUND

             This litigation arises out of the plaintiffs' allegations that they (or their next-of-kin)

     suffered human-rights abuses because of the efforts of the defendants-ExxonMobil Corporation

     and Exxon Mobil Oil of Indonesia ("EMOI")-to secure a natural gas facility in Aceh, Indonesia.

             As part of the litigation, the plaintiffs took the Rule 30(b)(6) deposition of EMOI's

     corporate representative, Mark Snell. In that deposition, Mr. Snell "refused to answer most of the

     substantive questions posed to him. Instead, he repeatedly read nonresponsive statements verbatim
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from pre-prepared notes." Sanctions Op. at* 1; see id. at *4. Following the deposition, the plaintiffs

moved for sanctions and, in response, defendants cross-moved for sanctions. See Pis.' Mot to

Compel and for Sanctions, ECF No. 777; Defs.' Opp'n/Cross-Mot. for Sanctions, ECF No. 782.

The Court granted the plaintiffs ' motion and denied the defendants'. Sanctions Op. at * 16.

        The Court also raised concerns about certain allegations that defense counsel made in their

filings about opposing counsel Kit Pierson. The Court noted that the following statements had no

apparent support in the record:

               Mr. Pierson was "agitated and combative." [Defs.' Opp'n/Cross
               Mot.] at 12 (citing Snell Tr. 47:16-25, 75:6-13 , 207:10-210 :2,
               322:10-17), 13 (citing Snell Tr. at 34:9- 22).

               Mr. Pierson "lashed out at the witness. " Id. at 21 & n.20 (citing Snell
               Tr. 41 :9-42: 18;_47: 16-48:25; 75:6-76 :22).

               Mr. Pierson was neither calm nor professional but rather "became
               unhinged ... and repeatedly attacked and baselessly threatened to
               seek sanctions against the witness and counsel." Id. at 21, n.20
               (citing Snell Tr. 32:19-34 :22; 51:20- 57 :7; 143:20-144:5).

               Mr. Pierson engaged in "browbeating and disrespectful
               behavior." Id. at 21 n.20 (citing Snell Tr. 56: 19- 59:5 , 64:2- 70: 1,
               80 : 11-81 :25).

               Mr. Pierson became "indignant and adversarial." Id. at 32.

               Mr. Pierson became "agitated and aggressive." Defs. ' Reply at 11
               [ECF No . 792].

               Mr. Pierson "demonstrated a general lack of respect towards a
               professional adversary." Id. at 16-17 (citing Snell Tr. 26:2-27 :3,
               29 :24-32:18, 34 :6-38:6, 174:9-175 :6, 184:4- 185:13, 207 :17-
               209: 14).

Sanctions Op. at *15. The Court stated that "[b]ecause none of the evidence the defendants have

cited supports their claims about Mr. Pierson ' s demeanor and because the Court can locate no

support for those claims in the record, the Comi has reason to believe that defense counsel violated




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Rule 1 l(b)(3). For that reason, the Court will order Ms. Oh and Paul, Weiss, Rifkind, Wharton &

Garrison LLP to show cause why it should not impose Rule 11 sanctions on them." Id. at * 16.

        The Court separately ordered "defense counsel to show cause by May 14, 2021 why

sanctions should not be imposed under Rule 11 (b )(3) for alleging that plaintiffs' counsel was

agitated, disrespectful, and unhinged during the deposition despite a lack of record evidence

supporting those allegations." Order 3 (Apr. 26, 2021) (citing id. at * 15-16). By then Ms. Oh had

withdrawn as counsel for the defendants and did not receive a notice of electronic filing when the

Court docketed its order, so the Court also directed the defendants to serve a copy of the order on

Ms. Oh. Id.

        After the Court unsealed its Memorandum Opinion on the cross-motions for sanctions,

both Paul Weiss and Ms. Oh responded. See Paul Weiss Resp., ECF No. 804; Oh Resp., ECF No.

805; Oh Deel., ECF No.      ~   805-1. The plaintiffs also replied to those responses. Pis.' Reply, ECF

No. 806. And Paul Weiss and Ms. Oh replied to the reply. Paul Weiss/Oh Reply, ECF No. 807.

        The Court describes and addresses the parties' filings only to the extent they address the

specific Rule 11 (b )(3) issue rai.sed in the show cause order. The limited show cause order did not

offer a chance to relitigate the issues resolved in the Court's last opinion, and the Court will not

retread that ground here.

        Paul Weiss submitted a brief explaining and defending the statements. The firm

"apologiz[ ed] that it took an approach the Court disapproves of in the deposition at issue and in

the briefing that followed," and noted that it "take[ s] seriously the Court's ruling, admonition, and

the relief already awarded." Paul Weiss Resp. at 5. (To be clear, the issue with the deposition and

briefing lies in defense counsels' objectively improper conduct, not in the Court's offended

sensibilities;) As to the relevant statements in its briefs, Paul Weiss explained that it cited portions




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of the deposition transcript that it believed "evidenced plaintiffs' counsel acting in a frustrated,

condescending, or hostile manner." See id. at 14-15. Paul Weiss asserted that it "acted in good

faith to describe the actions of plaintiffs' counsel at Mr. Snell's deposition as defense counsel

honestly perceived them." Id. at 19. It said that it made its statements from the "perspective of

attorneys who believed in good faith that both Ms. Oh and Mr. Snell had acted properly and that

plaintiffs' counsel had acted .improperly," adding that "[d]efense counsel did not attempt to

mislead the Court or to conceal relevant facts." Id at 21. Finally, Paul Weiss expressed its

"understand[ing] and regret[] that the Court did not find defense counsels' characterizations to be

supported." Id at 23.

       Ms. Oh fully adopted the Paul Weiss response. Oh. Resp. at 1. She also presented a

declaration in support of that response. In the declaration, Ms. Oh offered a sincere apology:

               I take to heart the Court's admonition that the law is a noble
               profession, and that attorneys should conduct themselves in a
               manner befitting that profession. I believe that I have lived by that
               maxim throughout my 27-year legal career. Other than by plaintiffs'
               counsel here, I am not aware of any accusations of sanctionable
               conduct-discovery or otherwise-against me by anyone.

               That said, I acknowledge and regret my role in the breakdown of
               civility that occurred during and after this unfortunate deposition. I
               have worked on this case for nearly 14 years, firmly believe in the
               merits of my former clients' case, and have sought to serve my
               former clients through zealous advocacy. Regrettably, on this
               occasion, I allowed my strong convictions to get the better of me. I
               believed in good faith that my approach to the deposition was
               appropriate, and that my characterizations of opposing counsel's
               demeanor, based on my personal observations, were fair and
               supported by evidence. But I regret using the language in question
               and should have let myself be guided by a higher standard.

Oh Deel. ~114-5. She explains that she perceived Mr. Pierson's voice as louder during the

deposition because she was using "noise-cancelling headphones." Id. 132. Ms. Oh recounts, "a

vivid memory of perceiving the video of plaintiffs' counsel's face and body language as showing



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      anger and irritation in a non-verbal manner, including when counsel appeared to be glaring, shook

      his head, wore an angry or an irritated expression, and leaned forward." Id. According to Ms. Oh,

      when she submitted the briefs, she believed that her assertions were "supported by my own

      recollection, the transcript, and the video of the deposition." Id.   ii 40.
              In their submission, the plaintiffs argue that Rule 11 sanctions are appropriate. They point

      to what they characterize as defense counsels' "half-apologies," Pis.' Br. 1, and object to defense

      counsels' "doubling-down on their aspersions," Pis.' Br. 9. In a trio of declarations, the plaintiffs

      contest claims that Mr. Pierson .displayed anger, glared at anyone, or raised his voice. Pierson Deel.

      ~ii 3, 5, 7, ECF No.   806-3; Fryszman Deel.   ilil 6-8, ECF No.   806-4; Chasek-Macfoy Deel.   iii[ 3-4,
      ECF No. 806-5.

ll.      LEGAL ST AND ARDS

             To "deter baseless filings in district court," Federal Rule of Civil Procedure 11 permits

      courts to sanction those who engage in specified types of litigation misconduct. Cooter & Gell v.

      Hartmarx Corp., 496 U.S. 384, 393 (1990). The rule has four subsections.

             First, Rule 11 (a) requires the presenter-either an attorney of record or an unrepresented

      party-to sign every paper presented to a court.

             Second, Rule 11 (b) provides that by presenting a paper, the presenter certifies that he has

      complied with several duties. Relevant here is Rule l l(b)(3), which imposes two requirements on

      a presenter: a duty to make "an inquiry reasonable under the circumstances" into the facts and an

  obligation to believe reasonably that "the factual contentions [in the paper] have or, if specifically

  so identified, will likely have evidentiary support after a reasonable opportunity for further

  investigation or discovery." See Fed. R. Civ. P. 1 l(b)(3). If a presenter cannot meet either of those

  burdens, he cannot present the paper.




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        To determine whether a presenter has violated the twin requirements, courts apply an

objective standard of reasonableness and look to the presenter's knowledge when presenting the

paper. Gregory P. Joseph, Sanctions: The Federal Law of Litigation Ahuse §§ 6(D)(l )-(2) (6th

ed., 2020). In deciding if an inquiry is reasonable under the circumstances, courts look to factors

including time pressures, complexity, feasibility of additional investigation, accessibility of

information, knowledge, reliance on others, notice, and available resources . Id. § 8A. But even if

a presenter makes a reasonable inquiry, he still violates Rule 11 (b )(3) if he makes a factual

allegation that "is utterly lacking in support." Easlway Constr. Corp. v. City ofNew York, 762 F.2d

243, 254 (2d Cir. 1985). While a presenter is free to assert litigable issues of fact, Joseph, supra

§ 8(c), he may not present a "baseless statement or deliberate misstatement," id. § 9(F). Evidence

of a Rule 11 (b) violation must be "patently clear." lndep. Fed. Sav. Bank v. Bender, 230 F.R.D.

11, 16 (D.D.C. 2005) (quoting Eastway Constr. Corp., 762 F.2d at 254).

       Third, Rule 11 (c) authorizes courts to sanction Rule 11 (b) violations. After providing

notice and a reasonable chance to respond, courts may impose "appropriate sanction[s ]" on

offending presenters. Fed. R. Civ. P. l l(c)(l). Usually, a law firm bears joint responsibility for its

attorneys' conduct. Id. While courts have broad discretion in imposing sanctions under Rule 11,

sanctions may not exceed "what suffices to deter repetition of the conduct or comparable conduct

by others similarly situated." Fed. R. Civ. P. 1 l(c)(4). Courts may impose any type of sanction,

subject to certain limits. See generally Joseph, supra § l 6(B)(2)-(3).

       Fourth, Rule 1 l(d) exempts "disclosures and discovery requests, responses, objections, and

motions under Rules 26 through 3 7" from its ambit.




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Ill.        ANALYSIS

                 The Court will first establish that Rule 11 sanctions are available for the papers that defense

       counsel filed. It will then explain defense counsel violated Rule l l(b)(3). Finally, Court will

       conclude that admonishment is warranted.

           A. Availability of Rule 11 Sanctions

                 To begin, the Court determine whether Rule 11 applies to defense counsels ' memorandum

       opposing plaintiffs' motion and supporting defendants' cross-motion and to the reply in support

       of that cross-motion. That inquiry has two parts. The first is easy: the opposition and reply briefs

       were papers presented to the Court. They thus fall within the scope of Rule 11 (a) and (b). The

   second is harder: it requires the Court to decide whether the exclusion of discovery "motions" from

   Rule 11 covers the opposition and reply briefs.

                 If the opposition and reply briefs are "disclosures and discovery requests, responses,

   objections, [or] motions under Rules 26 through 37," then Rule 11 does not apply to them. Fed. R.

   Civ. P. l l(d), They are not disclosures or "discovery requests, responses, [or] objections." But

   defense counsel argue that they are motions under Rules 30 and 37. Paul Weiss Resp. at 12--13.

   While that argument has some appeal, it ultimately cannot overcome the text and purpose of Rule

       11 (d).

                 The problem with defense counsels' argument is that the relevant statements appeared in a

   brief, not a motion. That distinction matters. A motion is a written or oral request for a court to

   enter an order. See Fed. R. Civ. P. 7(b); accord Motion, Black 's Law Dictionary (11th ed. 2019)

   ("A written or oral application requesting a court to make a specified ruling or order."). In contrast,

   a brief is a "document prepared by counsel as the basis for arguing a case, consisting of legal and

   factual authorities and the authorities in support of them." Brief, Black's Law Dictionary (11th ed.

   2019). A motion is often supported by a brief. Indeed, in this Court, a brief must accompany all


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motions, and parties may also file opposition and reply briefs. See LCvR 7.1 (a)-(b ), (d). And Rule

11 (d) excludes discovery motions-but not briefs in support of discovery motions-from the other

Rule 11 requirements.

        A trio of interpretive canons support that reading of Rule 11 (d). First, the whole-text canon

directs courts to look to the entire text of a document in construing the meaning of one of its parts .

See, e.g., K Mart Corp. v. Cartier, Inc., 486 U.S. 281, 291 (1988); see generally Antonin Scalia &

Bryan A. Garner, Reading Law: The Interpretation (f Legal Texts 167-69 (2012). And the whole

of the Federal Rules of Civil Procedure confirm that its drafters knew how to distinguish between

motions and filings more broadly. They did just that in Rule 11(6), which applies to "a pleading,

written motion, or other paper." In contrast, Rule 11 (d) is a more narrowly tailored rule applying

to an enumerated list: "discovery requests, responses, objections, and motions." In interpreting a

document that distinguishes between specific, enumerated types of filings and all filings more

broadly, the Court cannot expand the scope of the enumerated list.

       Second, Rule 11 (d )' s enumerated list brings into play the negative-implication canon,

which states that the inclusion of one thing implies the exclusion of others. See, e.g., Salinas v.

US.R.R. Ret. Bd., 141 S. Ct. 691,698 (2021); see generally Scalia & Garner, supra at 107-11. In

promulgating Rule 1 l(d), the Supreme Court included "discovery requests, responses, objections,

and motions" and nothing else. The inclusion of those specific filings implies that other filings-

like briefs-are excluded from the rule.

       Third, the presumption of consistent usage counsels courts to presume that a word bears

the same meaning throughout a text. See, e.g., Env 't Def v. Duke Energy Corp., 549 U.S. 561, 574

(2007); see generally Scalia & Garner, supra at 170-73. And throughout the Federal Rules of Civil

Procedure, a motion refers to a request for a court order together with an expression of its grounds




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and the relief sought. See, e.g., Fed. R. Civ. P. 7(b). Nowhere in the Rules does a reference to a

"motion" include a brief. The _Court will not presume that the meaning of "motion" changes in

Rule 11 (d) alone.

       Thus, the text of Rule 11 ( d) does not cover the opposition and reply briefs.

       This holding also tracks the purpose of Rule 11 (d): to limit the certification standards and

available sanctions for discovery disclosures, requests, responses, objections, and motions to those

imposed by Rules 26(g) and 37. See Fed. R. Civ. P. 11, advisory committee's note to 2004

amendment. That limitation makes sense for those elements of discovery that are subject to Rules

26(g) and 3 7 because it avoids duplicative-and potentially contradictory-standards. See, e.g.,

Moeck v. Pleasant Valley Sch. Dist., 844 F.3d 387, 392 (3d Cir. 2016) (holding that Rule 11 does

not apply to statements made during depositions); Back v. Allstate Ins. Co., Inc., No. S:04-cv-5-

LKK-CMK, 2005 WL 8176575, at * 1 (E.D. Cal. Feb. 22, 2005) (noting that Rule 11 docs not

apply to expert reports). But because neither Rules 26(g) nor 3 7 govern briefs in support of

discovery motions, extending that limitation to briefs would provide no benefit. Nor would

allowing attorneys free range in their discovery briefs serve the purpose of Rule 11 as a whole:

deterring baseless filings. Cf Shim-Larkin v. City ofNew York, No. 16-cv-6099-AJN-KNF, 2019

WL 5199419, at * 9 (S.D.N. Y. Sept. 16, 201 9) (holding that Rule 1 I (d) does not apply to motions

based in part on Rules 26-37 and in part on other grounds), aff"d in relevant part, 2020 WL

5758751 (S.D.N .Y. Sept. 28, 2020). Thus, Rule 11 (d) cannot be read to exclude discovery briefs.

       The Court acknowledges that other district judges have come to the opposite conclusion.

See, e.g., Lee v. Horton, No. 2:l 7-cv-2766-JPM-TMP, 2018 WL 6323081, at *4 (W.D. Tenn. Dec.

4, 2018) (interpreting "motions" to include all legal and factual contentions made in support of

motions); Rogue Wave Software, Inc. v. BT! Sys. inc., No. 16-cv-7772-VM-KNF, 2018 WL




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1737132, at *l (S.D.N.Y. Feb. 16, 2018) (interpreting "motions" to include material "related to"

motions); Bell v. Classic Chevrolet/Buick & BMW, Inc., No. 05-cv-2262-NLH, 2007 WL 9797530,

at *l (D.N.J. Sept. 27, 2007) (same); Avent v. So(faro, 223 F.R.D. 184, 187-88 (S.D.N.Y. 2004)

(interpreting Rule 11 (d) to bar sanctions for any material "relate[ d] to discovery disputes"). For

the reasons stated above, the Court disagrees.

       Rule 11 (d) sanctions are available if defense counsel violated Rule 11 (b )(3) in their briefs.

    B. Violation of Rule ll(b)(3)

       The Court must next determine whether defense counsel violated Rule 11 (b)(3). To do so,

the Court must find that it is patently clear that defense counsel filed the briefs without first

determining that "to the best of [their] knowledge, information, and belief, formed after an inquiry

reasonable under the circumstances ... the factual contentions have evidentiary support or, if

specifically so identified, will likely have evidentiary support after a reasonable opportunity for

further investigation or discovery." Fed. R. Civ. P. 11(6)(3). Because defense counsel did not

identify any statements as requiring more investigation, the Court concerns itself only with

whether the contentions had evidentiary support when made.

       A reasonable attorney would have reviewed the deposition video before making serious

allegations about another attorney's professional conduct. Although defense counsel had access to

the video, nothing in the record reflects that defense counsel took that simple step. See Defs.'

Opp'n/Cross Mot. 12 (citing 1 Snell Video at 25:45-28:38), 13 (citing 1 Snell Video at 1:03:28-

1:03:32). Defense counsel were not pressed for time: they had the standard two weeks to oppose

the plaintiffs' motion, LCvR 7(6), and essentially unlimited time to file their cross-motion. And

defense counsel had reason to return to the video, because the plaintiffs put them on notice that

they believed the video did not support the defendants' contentions. See, e.g., Pis.' Reply Supp.




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Sanctions Mot. at 13, ECF No. 789. Moreover, as defense counsel noted, they defended the

deposition in the middle of the night in a "heated" atmosphere. See Oh Deel.   il~ 30, 35, 37. Neither
condition is conducive to a clear memory of the event, so returning to the video would have assisted

defense counsel in providing an objective perspective on the deposition. The video was also

indicative of the evidence defense counsel could have offered to support their claims. For all these

reasons, a reasonable attorney. would have reviewed the video. In failing to review the video,

defense counsel violated Rule 11 (b )(3 ).

        Nor did the evidence that defense counsel presented at the time provide any support for

their contentions. Indeed, by citing the transcript, instead of the video, defense counsel provided a

misleading account of the deposition. Compare, e.g., Snell Tr. 207:10-210:2 (cited in Defs.'

Opp'n/Cross-Mot. 12) (accusing Mr. Pierson of needing to calm down), with 4 Snell Video 00: 12-

2:23 (showing Mr. Pierson's calm and steady voice). The Court will not weigh declarations against

counter-declarations to ascertain Mr. Pierson's facial expressions (or lack thereof) during the

deposition. Even taking defense counsels' assertions as true, they do not support the claims that:

               Mr. Pierson was neither calm nor professional but rather "became
               unhinged ... and repeatedly attacked and baselessly threatened to
               seek sanctions against the witness and counsel." Id at 21, n.20
               (citing Snell Tr. 32:19-34:22; 51:20-57:7; 143:20-144:5).

               Mr. Pierson engaged in "browbeating and disrespectful
               behavior." Id. at 21 n.20 (citing Snell Tr. 56:19-59:5, 64:2-70:1,
               80: 11-81 :25),

               Mr. Pierson became "indignant and adversarial." Id. at 32.

               Mr. Pierson became "agitated and aggressive." Defs.' Reply at 11.

               Mr. Pierson "demonstrated a general lack of respect towards a
               professional adversary." Id. at 16-17 (citing Snell Tr. 26:2-27:3,
               29:24-32:18, 34:6-38:6, 174:9-175:6, 184:4-185:13, 207:17-
               209: 14).

In making these claims without evidentiary support, defense counsel violated Rule 11 (b )(3 ).



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    C. Appropriate Sanctions

        Even when the Court finds a violation of Rule 11, it has the discretion not to impose

sanctions. See Fed. R. Civ. P. ·11(c). "The imposition of Rule 11 sanctions is not something the

[C]ourt takes lightly[;] rather the [C]ourt considers it 'an extreme punishment for filing pleadings

that frustrate judicial proceedings."' Hedgeye Risk Mgmt., LLC v. Heldman, 412 F. Supp. 3d 15,

23 (D.D .C. 2019) (quoting Naegele v. Albers, 355 F. Supp. 2d 129, 143- 44 (D.D.C. 2005))

(quotation marks omitted).

        The Court will consider three potential forms of sanctions to punish the Rule 11 violation:

monetary penalties, referral to disciplinary authorities, and admonishment. It will conclude that

only the last is warranted here.

        First, monetary sanctions are effectively unavailable. While Rule 11 expressly authorizes

courts to impose monetary sanctions, Fed. R. Civ. P. 11 (c)( 4 )-(5), the Court may go no further

than ordering compensation to "the wronged party for 'losses sustained."' Goodyear Tire &

Rubber Co. v. Haeger, 13 7 S. Ct. 11 78 (201 7) (quoting Mine Workers v. Bagwell, 512 U.S. 821,

829 (1994)). 1 Here, the Court has already ordered the defendants to pay all the plaintiffs ' expenses

incurred in litigating the cross-motion for sanctions. Order at 2-3 (May 6, 2021 ). As no more

compensation is possible, due process permits no further monetary sanctions.

        Second, referral to the disciplinary authorities is not warranted. If an attorney's violation

of Rule 11 also transgresses · ethics rules, the Court may refer the attorney to the relevant

disciplinary authority. Rule 3.3 of the D.C. Rules of Professional Conduct requires candor toward

the tribunal. It prohibits an attorney from knowingly making or failing to correct a false statement




1
  While Goodyear considered courts' authority to impose inherent sanctions, nothing in its due process holding
suggests that courts may impose punitive monetary sanctions under a statute or rule .



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of fact to a tribunal. D.C. Rules of Professional Conduct 3.3(a)(l). The Court has not found a

knowing violation of that obligation. Thus, the Court will not refer defense counsel to any

disciplinary authority. See LCvR 83. l 6(d)(l) (permitting Court to refer attorneys to Committee on

Grievances if it believes that the "attorney[s] ha[ve] engaged in conduct which, if substantiated,

would warrant the imposition of discipline"); see also id. at 8.3(a) (requiring attorneys to refer

other attorneys to "the appropriate professional authority" if they know that the other attorneys

have violated ethical rules in a manner "rais[ing] a substantial question as to that lawyer's honesty,

trustworthiness, or fitness as a lawyer in other respects").

        Third, admonishment is warranted. If a presenter apologizes, admonishment alone often

suffices as a sanction for violating Rule 11 (b ). See, e.g., In re Kelly, 808 F.2d 549, 552 (7th Cir.

1986). Ms. Oh has sincerely apologized for her conduct; Paul Weiss has also apologized. Both

should have known better than to impugn another attorney's character without reviewing the entire

record. And neither should have made those accusations without evidentiary support. The Court

cannot allow such misconduct to occur without at least rebuking counsel, especially when the

misconduct created a substanti~l complication in resolving the cross-motions for sanctions.

       Defense counsel argue that sanctions are not appropriate for three reasons. None is availing.

        First, they argue that they acted in good faith. Paul Weiss Resp. at 19-22. They essentially

defend their characterization of Mr. Pierson and explain their conduct in the deposition. But bad

faith is not a requirement under Rule 11. Eastway Constr. Co., 762 F.2d at 253 ("Simply put,

subjective good faith no longer provides the safe harbor it once did."). Defense counsels' assertion

that it "did not attempt to mislead the Court or conceal relevant" facts because it "directed the

Court to precise passages in the deposition transcript and video that defense counsel believed

justified its characterizations ... with awareness that the Court had access to the full transcript




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and video[] and would judge the record of the deposition for itself:" Paul Weiss Resp. at 17, is off

base. Defense counsel only cited the video twice in their briefs, compared to scores of citations to

the transcript. See Defs.' Opp ' n/Cross Mot. 12 (citing 1 Snell Video at 25:45-28:38), 13 (citing 1

Snell Video at 1:03 :28-1 :03 :32). And defense counsel assumes that its characterization of a cold

transcript is irrelevant if the opposing party files a deposition video as an exhibit. That is simply

not so. In most cases, courts must rely on counsel to provide candid accounts of depositions when

supplying transcripts. And even when the Court has a video, its repeated viewing of a deposition

to parse attorneys' tone of voice wastes judicial time and resources. Finally, Lucas v. Duncan,

which defense counsel cites, is not on point because it held that citations to the record were

sufficient to distinguish between direct and circumstantial evidence. 574 F.3d 772, 778 (D.C. Cir.

2009). It did not turn citations to the record into a Rule 11 get-out-of-jail-free card. Defense

counsels ' claims of good faith offer little support to their cause.

        Second, defense counsel argues that subjective statements are not the proper target of Rule

11 sanctions. Paul Weiss Resp . at 18-19. They overread the cases they cite in support of that

proposition. Defense counsel cites Navarro-Ayala v. Hernandez-Colon, 3 F.3d 464 (1st Cir. 1993),

for the proposition that "Rule 11 'neither penalizes overstatement nor authorizes an overly literal

reading of each factual statement."' Paul Weiss Resp. at 17 (quoting 3 F.3d at 467). But Navarro-

Ayala actually says that courts must evaluate filings as a whole when considering Rule 11 sanctions

and should not nitpick isolated statements. 3 F .3d at 467. (Note the irony in defense counsels'

quoting out of context a statement cautioning against quoting out of context.) That rule does not

bar sanctions when, as here, offensive statements recur throughout two briefs. Nor do defense

counsels' claims about permissible inferences stand up to scrutiny. See Paul Weiss Resp. at 17-

18, 23 (quoting Lucas, 574 F.3d at 777-79). Counsel may only draw an inference if enough




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evidence to support that inference exists in the record. Finally, the defendants cite two unpublished

cases from other district courts: Chum Ltd. v. Lisowski, No. 98-cv-5060 (KMW), 2001 WL

243541, (S.D.N.Y. Mar. 12, 2001) and Rothberg v. Marger, No. 1 l-cv-5497 RBK/KMW, 2013

WL 1314603, (D.N.J. Mar. 28, 2013). They draw from those cases the principle that "honest,

though subjective, characterizations of facts are not the proper subjects of Rule 11 sanctions." Paul

Weiss Resp. at 22-23. Chum Ltd. held that, in one instance, misleading but not directly false

statements did not merit sanctions. 2001 WL 243 541, at * 14. It does not support a generalizable

rule about subjective statements. So defense counsels' argument rests on Rothberg alone. That

case held that "a characterizatfon that Plaintiff has 'harassed' Defendant and other parties is not

strictly a factual assertion[] but is inherently argumentative in nature and no grounds for

sanctions." 2013 WL 1314603, at *2. Rothberg provides no support for that conclusory statement.

But the Court need not linger on it, because the context of Rothberg materially distinguishes it

from this case. It dealt with filings that showed nothing "more than the familiar back and forth

about disputed issues of materi.al fact attendant to most adversarial proceedings." Id. Conversely,

the statements here were unsupported and abnormally rancorous, so Rothberg's lenient rule does

not apply. Defense counsels' broadly asserted subjective-statements exception to Rule 11 has no

basis in case law.

       Third and last, defense counsel argues that the sanctions the Court imposed in response to

the plaintiffs' motion were adequate. Paul Weiss Resp. at 24-25. While the court criticized defense

counsel in its prior opinion, it sanctioned the defendants alone-the clients, not the lawyers. See

Order (May 6, 2021 ). Rule 11, however, seeks to deter attorney misconduct. To accomplish that

goal, the Court must sanction the attorneys as well.

       Thus, the Court will admonish defense counsel as a sanction for violating Rule 11 (b )(3 ).




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